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      1   ANDREA SHERIDAN ORDIN (SBN 38235)
          STRUMWASSER & WOOCHER LLP
      2   10940 Wilshire Boulevard, Suite 2000
          Los Angeles, California 90024
      3   Telephone: (310) 576-1233
          Facsimile: (310) 319-0156
      4   E-mail: aordin@strumwooch.com
      5   Special Master / Independent Monitor
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      7
                              UNITED STATES DISTRICT COURT
      8
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
      9
     10
                                                  CASE NO. CV 85-4544-DMG (AGRx)
     11   JENNY LISETTE FLORES, et al.,
     12                                           NOTICE OF FILING OF SECOND
                             Plaintiffs,          REPORT OF THE SPECIAL MASTER
     13                                           / INDEPENDENT MONITOR
     14              v.
     15   WILLIAM P. BARR, Attorney
     16   General of the United States, et al.,
     17
                            Defendants.
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                                                                  NOTICE OF FILING OF SECOND REPORT
                                                        OF THE SPECIAL MASTER/INDEPENDENT MONITOR
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      1           On October 5, 2018, the Court ordered the appointment of Andrea
      2   Sheridan Ordin as Special Master/Independent Monitor (“Monitor”) and ordered
      3   the Monitor to file formal Reports and Recommendations to the Court [Doc #494].
      4   In accordance with the Court’s Order, the Monitor submits the attached Second
      5   Report of the Special Master/Independent Monitor for the Court’s consideration.
      6
      7
      8   DATED:      August 19, 2019          Respectfully submitted,
      9
                                               Andrea Sheridan Ordin
     10                                        STRUMWASSER & WOOCHER LLP
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     12
                                               By     /s/ Andrea Sheridan Ordin
     13                                               Andrea Sheridan Ordin
     14
                                               Special Master / Independent Monitor
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                                                                  NOTICE OF FILING OF SECOND REPORT
                                                        OF THE SPECIAL MASTER/INDEPENDENT MONITOR
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      1                                CERTIFICATE OF SERVICE
      2                              Case No. CV 85-4544-DMG (AGRx)
      3
                 I am a citizen of the United States. My business address is 10940 Wilshire
      4
          Boulevard, Suite 2000, Los Angeles, California 90024. I am over the age of 18 years,
      5
          and not a party to the within action.
      6
      7          I hereby certify that on August 19, 2019, I electronically filed the following
      8   documents with the Clerk of the Court for the United States District Court, Central
      9   District of California by using the CM/ECF system:
     10
          NOTICE OF FILING OF SECOND REPORT OF THE SPECIAL MASTER /
     11   INDEPENDENT MONITOR.
     12          I certify that all participants in the case are registered CM/ECF users and that
     13   service will be accomplished by the CM/ECF system.
     14
                 I declare under penalty of perjury under the laws of the United States the
     15
          foregoing is true and correct. Executed on August 19, 2019, at Los Angeles, California.
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                                                               /s/ Lauren S. Guerena
     19                                                           Lauren S. Guerena
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                                                                       NOTICE OF FILING OF SECOND REPORT
                                                             OF THE SPECIAL MASTER/INDEPENDENT MONITOR
